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EXHIBIT FF
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Richard A. Shick, Ph.D.

Economic Consultant

 

February 15, 2010

Andrew P. Fleming
Chiacchia & Fleming, LLP
Attorneys at Law

5113 South Park Avenue
Hamburg, New York 14075

Re: Economic Loss Calculation
For
Raffi Barsoumian, M.D.

Dear Mr. Fleming:

At your request | have made a calculation of the economic loss incurred by Raffi Barsoumian,
M.D. as a result of his removal from the general surgical residency program at the State
University of New York at Buffalo in June of 2005. As a result of this removal Dr. Barsoumian
has been unable to complete his residency training and pursue his chosen career. He is now
employed as a surgical assistant by USA Medical Services in New York.

Dr. Barsoumian had originally planned to complete his general surgical residency in June of
2007 and then obtain a fellowship in plastic surgery that would have taken an additional two
years before he could begin his career in plastic surgery. Recognizing that plastic surgery
fellowships are difficult to obtain, Dr. Barsoumian planned as alternatives to obtain fellowships
in either cardiothoracic surgery or vascular surgery. Dr. Barsoumian currently seeks
reinstatement to the general surgical residency so that he may resume his progress towards his
original career path. However with the passage of time it is possible that he may only be able
to complete his surgical residency and become a general surgeon or he may never be able to
resume his general surgical residency and his career would not advance beyond his current
employment. Given all the possible outcomes, this report makes six alternative scenario
computations of Dr. Barsoumian’s loss. These loss computations are simplified somewhat by
the fact that the earnings of plastic surgeons and vascular surgeons are fairly close allowing a
combination of two loss calculations in one category. The scenarios are:

e Scenario 1— Dr. Barsoumian would have completed his general surgical residency in
June of 2007, completed a fellowship in either plastic or vascular surgery in June of 2009
and began a career as a surgeon in one of the two fields in July of 2009. Dr. Barsoumian
is now able to return to his general surgical residency in June of 2010, complete the
residency in June of 2012, enter and complete a fellowship in either plastic surgery or
vascular surgery in June of 2014 and begin a career as a surgeon in one of the two fields
in July of 2014.

e Scenario 2 — Dr. Barsoumian would have completed his general surgical residency in
June of 2007, completed a fellowship in either plastic or vascular surgery in June of 2009

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and began a career as a surgeon in one of the two fields in July of 2009. Dr. Barsoumian
is now able to return to his general surgical residency in June of 2010, only complete the
residency in June of 2012, and begin a career as a general surgeon in July of 2012.

e Scenario 3—Dr. Barsoumian would have completed his general surgical residency in
June of 2007, completed a fellowship in either plastic or vascular surgery in June of 2009
and began a career as a surgeon in one of the two fields in July of 2009. Dr. Barsoumian
is not able to return to his general surgical residency and his career is limited to his
current position.

e Scenario 4—Dr. Barsoumian would have completed his general surgical residency in
June of 2007, completed a fellowship in cardiothoracic surgery in June of 2009 and
began a career as a cardiothoracic surgeon in July of 2009. Dr. Barsoumian is now able
to return to his general surgical residency in June of 2010, complete the residency in
June of 2012, enter and complete a fellowship in cardiothoracic surgery in June of 2014
and begin a career as a cardiothoracic surgeon in July of 2014.

e Scenario 5 — Dr. Barsoumain would have completed his general surgical residency in
June of 2007, completed a fellowship in cardiothoracic surgery in June of 2009 and
began a career as a cardiothoracic surgeon in July of 2009. Dr. Barsoumian is now able
to return to his general surgical residency in June of 2010, only complete the residency
in June of 2012, and begin a career as a general surgeon in July of 2012.

e Scenario 6 — Dr. Barsoumian would have completed his general surgical residency in
June of 2007, completed a fellowship in cardiothoracic surgery in June of 2009 and
began a career as a cardiothoracic surgeon in July of 2009. Dr. Barsoumian is not able to
return to his general surgical residency and his career is limited to his current position.

The economic loss for Dr. Barsoumian from these six alternatives consists of two main
elements: (1) the difference in his career earnings stream and (2) the loss of employer pension
contributions and the earnings on these contributions up to his assumed date of retirement.
There may be additional differences in other fringe benefits, but they are not considered to be

material.
The following sources of data were used to calculate the economic losses:

1. Summons and Complaint of Dr. Barsoumian, September 2006.

2. Medical Group Management Association (MGMA), Physician Compensation and
Production Survey, 2009.

3. Interview with Dr. Barsoumian — February 8, 2010.
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Morningstar, [bbotson SBBI 2008 Classic Yearbook.

Expectation of Life and Expected Deaths by Race, Sex, and Age: 2005, U.S. National
Center for Health Statistics.

U.S. Department of Labor, Bureau of Labor Statistics, Consumer Price Index, All Urban
Consumers, U.S. City Average.

U.S. Department of Labor, Worklife Estimates: Effects of Race and Education, 1986.

The economic loss calculations in this report are based on a series of facts and assumptions:

Dr. Barsoumian was born on June 14, 1972 and his life expectancy as of June 2005 was
44,5 years.

The worklife expectancy for a male 33 years of age in June 2005 with 15+ years of
schooling is 29.6 years as published by the U.S. Department of Labor, Worklife
Estimates: Effects of Race and Education, 1986. Following that report Dr. Barsoumian
would retire at 62.6 years of age. However, the results of this study are now dated and
don’t reflect the attitudes and economic positions of modern Americans. In addition,
Dr. Barsoumian has expressed his desire to work as long as possible and he has been
delayed at least five years in pursuing his desired career path. Accordingly for the loss
computations it is assumed that Dr. Barsoumian will retire at the end of the year that he
is 67 years of age.

Dr. Barsoumian reports his earnings from 2005 through 2009 as $40,301; $34,966;
$91,170; $52,499; and $45,000. His current salary is $132,800.

The starting earnings for a plastic surgeon or a vascular surgeon in 2008 are
approximated from the median earnings of plastic surgeons with 1-2 years of
experience as reported in the MGMA survey. For years later than 2008 the survey
figures are increased by 3% per year for inflation as described below.

The median earnings and 75" percentile earnings for plastic or vascular surgeons are
taken from the MGMA survey. For years later than 2008 the survey figures are
increased by 3% per year for inflation as described below.

The starting earnings for a cardiothoracic surgeon in 2008 are approximated from the
median earnings of cardiovascular surgeons as reported in the MGMA survey. For years
later than 2008 the survey figures are increased by 3% per year for inflation as described
below.

The median earnings and 75" percentile earnings for cardiothoracic surgeons are
approximated from the MGMA survey. For years later than 2008 the survey figures are
increased by 3% per year for inflation as described below.

The starting earnings for a general surgeon in 2008 are estimated from the median
earnings of general surgeons with 1-2 years of experience as reported in the MGMA
survey. For years later than 2008 the survey figures are increased by 3% per year for
inflation as described below.
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9. The median earnings and 75% percentile earnings for general surgeons are taken from
the MGMA survey. For years later than 2008 the survey figures are increased by 3% per
year for inflation as described below.

10. The average increase in the Consumer price Index over the past 20 years is 3% per
annum using data published by the U.S. Bureau of Labor Statistics. Except as noted
future increases in earnings are forecast at 3% per annum. This rate is consistent with
data in the MGMA survey for the years 2004 to 2008.

11. The 2009-2010 salary for general surgery residents is $44,000; 44,500; $45,000;
$46,000; and $47,500 from the State University of New York at Buffalo website.

12. It is assumed that the fellowships would pay the same as the residency adjusted for
inflation.

13. The employer contribution to Dr. Barsoumian’s retirement plan is 7% based on data
published MGMA. It is assumed that Dr. Barsoumian would have a defined
contributions retirement plan.

14. It is assumed that Dr. Barsoumian’s retirement plan assets would earn 7% per annum.
This rate is based upon the rate of return earned on investing in long-term U.S.
Government bonds over the last 30 years reduced by 0.5% to reflect investment
management costs.

The computations of the economic loss are presented in the attached table. The table begins
with each year from 2005 through the end of Dr. Barsoumian’s work life in 2039. His age as of
mid year is shown in the second column. The next six columns present estimates of Dr.
Barsoumian’s work life earnings. In column 3 it is assumed that Dr. Barsoumian had completed
his general surgical residency as originally planned, completed a plastic surgery or vascular
fellowship and then practiced as a plastic or vascular surgeon. Column 4 assumes that Dr.
Barsoumian returns to his general surgical residency in 2010, completes it, then completes a
plastic or vascular surgery fellowship and practices as a plastic or vascular surgeon. Columns 5
and 6 are similar in construction to columns 3 and 4 except that they assume Dr. Barsoumian
became or would have become a cardiothoracic surgeon. Column 7 assumes that Dr.
Barsoumian returns to his residency in 2010, completes it in two years and then practices as a
general surgeon. In columns 3 through 7 it is assumed that once Dr. Barsoumian begins
practicing, his earnings will rise to the median in the field in five years and then increase to the
75" percentile of earnings over the subsequent 10 years. After that his earnings only increase
by the cost of living. The assumed growth periods for Dr. Barsoumian are consistent with the
earnings data by years of experience as reported in the MGMA survey. Column 8 assumes that
Dr. Barsoumian continues in his present position and only receives cost of living salary
adjustments throughout his work life. The contributions to Dr. Barsoumian’s retirement
account plus the earnings on these contributions up to the date of retirement are shown in the
next six columns. The total of each column is shown in the table.
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There are six loss computations at the bottom of the table. These losses follow the scenarios
outlined at the beginning of this report:

1. Scenario 1 — Dr. Barsoumian would have become a plastic or vascular surgeon; he is
now able to complete his education and practice as a plastic or vascular surgeon.
Computed as column 3 plus column 9 minus column 4 and column 10. Loss =
$4,226,841

2. Scenario 2 — Dr. Barsoumian would have become a plastic or vascular surgeon; he is
now able to only complete his surgical residency and practice as a general surgeon.
Computed as column 3 plus column 9 minus column 7 and column 13. Loss =
$7,741,586

3. Scenario 3 — Dr. Barsoumian would have become a plastic or vascular surgeon; he is not
able to complete his surgical residency and continues in his current position. Computed
as column 3 plus column 9 minus column 8 and column 14. Loss = $21,387,378

4. Scenario 4— Dr. Barsoumian would have become a cardiothoracic surgeon; he is now
able to complete his education and practice as a cardiothoracic surgeon. Computed as
column 5 plus column 11 minus column 6 and column 12. Loss = $4,916,369

5. Scenario 5 - Dr. Barsoumian would have become a cardiothoracic surgeon, he is now
able to only complete his surgical residency and practice as a general surgeon.
Computed as column 5 plus column 11 minus column 7 and column 13. Loss =
$13,355,405

6. Scenario 5 — Dr. Barsoumian would have become a cardiothoracic surgeon, he is not
able to complete his education and continues in his current position. Computed as
column 5 plus column 11 minus column 8 and column 14. Loss = $27,001,198

In my opinion the forgoing loss computations present fair estimates to a reasonable degree of
economic certainty of the financial loss suffered by Dr. Barsoumian under the six scenarios.

 

Richard A. Shick, Ph.D.

Enclosure
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Case 1

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